                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 IN THE MATTER OF:                    Chapter 7
 Daniel L. & Connie Ann Taylor,       Case No.: 19-42473
 Debtors                              Judge: Maria Oxholm
 ___________________________________/



                    Order Approving Payment of Filing Fee in Installments

After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form B 3A),
the court orders that:

  	The debtor(s) may pay the filing fee in installments on the terms proposed in the application.

   The debtor(s) must pay the filing fee according to the following terms:

                You must pay…                       On or before this date…

                $                    335.00         May 31, 2019
                                                    Month / day / year


                $
                                                    Month / day / year

                $
                                                    Month / day / year

              + $
                                                    Month / day / year
      Total     $                    335.00
        Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer

 any additional property to an attorney or to anyone else for services in connection with this case.

Signed on March 11, 2019




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